             Case 3:13-cr-05401-BHS              Document 71             Filed 10/27/14      Page 1 of 3




1                                                                         The Honorable Benjamin H. Settle
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7                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
8
                                        AT TACOMA
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10
      UNITED STATES OF AMERICA,                                   NO. CR13-5401 BHS
11
                             Plaintiff,
12
                      v.                                          FINAL ORDER OF FORFEITURE
13
      BOLIVAR ESPINO-CHACON,
14
                            Defendant.
15
16
             THIS MATTER comes before the Court on motion of the United States for entry
17
     of a Final Order of Forfeiture with respect to the following assets:
18
             (a)     $2,726.00 in United States currency, more or less, seized from Bolivar
19
                     Espino-Chacon at the time of his arrest.
20
             On February 10, 2014, this Court entered a Preliminary Order of Forfeiture,
21
     Docket Entry No. 55, in the above-captioned case forfeiting defendant Bolivar Espino-
22
     Chacon’s interest in the above described property.
23
             The above-referenced property is subject to forfeiture pursuant to Title 21,
24
     United States Code, Section 853, based on Bolivar Espino-Chacon’s guilty plea to
25
     Conspiracy to Distribute Heroin, as charged in Count 1 of the Indictment, Docket No. 19,
26
     in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and 846,
27
     and his agreement to forfeit the above described property.
28
     FINAL ORDER OF FORFEITURE                                                            UNITED STATES ATTORNEY
                                                                                          1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Bolivar Espino-Chacon, et al. (Case No. CR13-5401BHS) - 1
                                                                                           TACOMA, WASHINGTON 98402
                                                                                                  (253) 428-3800
             Case 3:13-cr-05401-BHS              Document 71             Filed 10/27/14      Page 2 of 3




 1           Pursuant to Title 21, United States Code, Section 853(n), the United States
 2 published notice on an official government forfeiture website, currently
 3 www.forfeiture.gov for thirty (30) days beginning February 15, 2014. In the publication
 4 the United States published notice of the Preliminary Order of Forfeiture and the intent of
 5 the United States to dispose of the property in accordance with law. This notice further
 6 stated that any person other than the defendant having or claiming an interest in the
 7 property was required to file a petition with the Court within sixty (60) days of the first
 8 date of publication, setting forth the nature of the petitioner’s right, title, and interest in
 9 the property.
10           All persons and entities believed to have an interest in the property subject to
11 forfeiture were given proper notice of the intended forfeiture.
12           No other petitioners have come forward to assert an interest in the forfeited
13 property, and the time for doing so has expired.
14           Accordingly, IT IS ORDERED, ADJUDGED and DECREED that the following
15 property is hereby fully and finally condemned and forfeited to the United States in its
16 entirety:
17           (a)     $2,726.00 in United States currency, more or less, seized from Bolivar
18                   Espino-Chacon at the time of his arrest.
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     FINAL ORDER OF FORFEITURE                                                            UNITED STATES ATTORNEY
                                                                                          1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Bolivar Espino-Chacon, et al. (Case No. CR13-5401BHS) - 2
                                                                                           TACOMA, WASHINGTON 98402
                                                                                                  (253) 428-3800
             Case 3:13-cr-05401-BHS              Document 71             Filed 10/27/14      Page 3 of 3




 1           IT IS FURTHER ORDERED, ADJUDGED and DECREED that no right, title, or
 2 interest in the above-described property shall exist in any other party. The United States
 3 Marshals Service is authorized to dispose of the above-listed property in accordance with
 4 the law.
 5           DATED this 27th day of October, 2014.
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10
                                                       ABENJAMIN H. SETTLE
                                                        United States District Judge
11
12
13 Presented by:
14 s/ Matthew H. Thomas
15 MATTHEW H. THOMAS
   Assistant United States Attorney
16 United States Attorney’s Office
17 1201 Pacific Avenue, Suite 700
   Tacoma, WA 98402
18 Telephone: (253) 428-3800
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   E-mail: Matthew.H.Thomas@usdoj.gov
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     FINAL ORDER OF FORFEITURE                                                            UNITED STATES ATTORNEY
                                                                                          1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Bolivar Espino-Chacon, et al. (Case No. CR13-5401BHS) - 3
                                                                                           TACOMA, WASHINGTON 98402
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